                 SIXTH DISTRICT COURT OF APPEAL
                        STATE OF FLORIDA
                       _____________________________

                           Case No. 6D2023-1509
                   Lower Tribunal No. 2019-CF-013484-A-O
                     _____________________________

                               KAMAL EDWARDS,

                                   Appellant,
                                        v.

                               STATE OF FLORIDA,

                                    Appellee.
                       _____________________________

                Appeal from the Circuit Court for Orange County.
                            Chad K. Alvaro, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

TRAVER, C.J., and MIZE and BROWNLEE, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Brett S. Chase, Special Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Stephen R. Putnam, Jr.,
Assistant Attorney General, Daytona Beach, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
